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                                       #:313


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11
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12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
     UNITED STATES OF AMERICA,                No. 2:21-CV-04569-JAK-KS
14
               Plaintiff,                     OPPOSITION TO MOTION FOR SUMMARY
15                                            ADJUDICATION; MEMORANDUM OF POINTS
                     v.                       OF AUTHORITIES
16
     REAL PROPERTY LOCATED IN MALIBU,
17   CALIFORNIA,

18             Defendant.
19

20
          Plaintiff United States of America, by and through its counsel
21
     of record, the United States Attorney for the Central District of
22
     California and Assistant United States Attorney Dan G. Boyle, hereby
23
     files its Opposition to Movant Melvin Huges’ Motion for Summary
24
     Adjudication in this action (the “Motion”). See ECF No. 33.
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1         This Opposition is based upon the attached Memorandum of Points

2    and Authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4

5    Dated: September 14, 2023            Respectfully submitted,

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1                       MEMORANDUM OF POINTS AND AUTHORITIES

2    I.    INTRODUCTION

3          Plaintiff United States of America (“Plaintiff” or the

4    “government”) respectfully submits this memorandum of points and

5    authorities in opposition to the Motion for Summary Adjudication of

6    Melvin Louis Huges (“Huges”) filed on September 7, 2023. ECF No. 33.

7          As detailed herein, Huges is not a claimant in this action and

8    has no standing to contest forfeiture, and even if he did, his

9    proffered basis for the Motion is frivolous. Furthermore, Huges

10   plainly did not comply with either the Local Rules or this Court’s

11   individual Practices in filing the Motion, so the Court is empowered

12   the strike the Motion in the alternative.

13   II.   STATEMENT OF FACTS

14         The Court is familiar with the facts of this action, and the

15   government summarizes the facts only briefly here, as relevant.

16         The Verified Complaint for Forfeiture here alleges, in

17   substance, that Huges and co-schemers submitted numerous fraudulent

18   tax returns which claimed refunds of millions of dollars in
19   purportedly withheld income. See ECF No. 1 (Verified Complaint for

20   Forfeiture, hereinafter the “Complaint” or “Compl.”), at ¶ 10-11. In

21   fact, the returns filed by Huges and his co-schemers were entirely

22   and materially false, because this purportedly withheld income was

23   fictitious: no such income had actually been withheld, and Huges and

24   his co-schemers were not owed any corresponding refunds. See Compl.

25   ¶ 13. The United States Department of the Treasury issued refund

26   checks based on some of these false returns, and a portion of these
27   fraudulent proceeds were used to purchase the Defendant Property in

28   this action. See Compl. ¶¶ 4, 31-33
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1          On June 3, 2021, the United States filed the instant action,

2    seeking forfeiture of the Defendant Property pursuant to 18 U.S.C. §

3    981(a)(1)(A)&(C), on the grounds that the property was derived from,

4    or involved in, violations of 18 U.S.C. §§ 641, 1341, 1343, and/or

5    1957. See Compl. ¶ 34-35.

6          On August 6, 2021, Huges filed a purported “counterclaim”

7    against the government (ECF No. 10), to which the government

8    responded on August 27, 2021. See ECF No. 11.

9          Neither Huges nor any other party filed a claim or answer. On

10   September 24, 2021, the government applied for a default with the

11   Clerk of Court (ECF No. 16), which was granted on September 27, 2021.

12   See ECF No. 17. On December 9, 2021, the government moved this Court

13   for default against the interests of Huges and any and all other

14   potential claimants, and attached the proofs of service by mailings

15   described above. See ECF Nos. 19, 20. On July 13, 2023, the Court

16   issued a default judgment against the Defendant Property. See ECF No.

17   26.

18         On September 7, 2023, Movant file the instant Motion,
19   purportedly seeking “Summary Adjudication.” ECF No. 33. On September

20   12, 2023, the Court ordered the government to respond to the Motion

21   by September 15, 2023. See ECF No. 35.

22   III. ARGUMENT

23         The Court should deny Huges’ Motion for any of four independent

24   reasons:

25         First, Huges cannot file a motion seeking summary judgment in

26   this action, because he is not a claimant. Huges has never filed a
27   claim, and in a civil forfeiture action, the defendant is the

28   property and a claimant intervenes in that action by the filing of a

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1    claim. United States v. One-Sixth Share, 326 F.3d 36, 40 (1st Cir.

2    2003) (“Because civil forfeiture is an in rem proceeding, the

3    property subject to forfeiture is the defendant. Thus, defenses

4    against the forfeiture can be brought only by third parties, who must

5    intervene.”). The required contents of a claim are defined in

6    Supplemental Rule G(5)(a)(i) to the Federal Rules of Civil Procedure,

7    and failure to follow Rule G’s requirements is grounds to strike. See

8    Supp. Rule G(8)(c)(i)(A)(government may move to strike for “fail[ure]

9    to comply with Rule G(5)”). Huges cannot evade the requirements of

10   Rule G by simply failing to file a claim, and then litigating as a

11   stranger to this action.

12        Second, any interest Huges has been defaulted and has not moved

13   to vacate that default. As detailed in the government’s previously-

14   filed opposition to the Modupe Trust’s motion to vacate the default

15   judgment here (see ECF No. 32), setting aside a default judgment

16   requires a showing of good cause by the movant, including that “the

17   defendant has a meritorious defense.” Franchise Holding II, LLC v.

18   Huntington Restaurants Group, Inc., 375 F.3d 922, 925-26 (9th Cir.
19   2004). Huges has not denied the allegations of criminal activity

20   against him in the Complaint, and certainly has not offered a

21   colorable defense to these allegations. He cannot seek to evade the

22   Court’s default judgment without moving to vacate the default, and

23   meeting the required standard.

24        Third, while styled as a motion for summary adjudication, the

25   relief requested in the Motion (“Claimant respectfully requests that

26   the Court vacate this case” (Mot. at 3)) is plainly dismissal. But
27   pursuant to Rule G(8)(b)(i), only a “[a] claimant who establishes

28   standing to contest forfeiture may move to dismiss the action.” Even

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1    if Huges had filed a claim, by his own admissions he cannot possibly

2    have standing to contest forfeiture, because he affirmatively

3    represents in his Motion that “I swear under penalty of perjury that

4    I have no legal interest at real property 23301 W. Pompano Malibu CA.

5    91710.” Mot. at 22 (Huges Aff. ¶ 5). A putative-claimant who

6    disclaims any interest in the defendant property cannot oppose

7    forfeiture. See United States v. $133,420.00 in U.S. Currency, 672

8    F.3d 629, 637 (9th Cir. 2012)(“Claimants in civil forfeiture actions

9    can satisfy [Article III] by showing that they have a colorable

10   interest in the property, which includes an ownership interest or a

11   possessory interest” (internal citation omitted)); see also United

12   States v. Real Prop. Located at 5208 Los Franciscos Way, Los Angeles,

13   Cal., 385 F.3d 1187, 1193 (9th Cir. 2004) (“The substantive merits of

14   the government's forfeiture action—whatever they may be—cannot be

15   challenged by a claimant lacking a sufficient interest in the

16   defendant property to confer Article III standing”). The Court need

17   not consider a motion by a defaulted party that cannot possibly have

18   standing to contest forfeiture here.
19        Fourth and finally, even if Huges had filed a claim, had

20   standing, and had moved to vacate the default, his Motion would still

21   be frivolous. As base, Huges contends that this action should be

22   dismissed because, in separate correspondence, IRS agents may have

23   spelled his last name wrong. He does not – and cannot – contend that

24   his name has been misspelled in this action, and even a cursory

25   review of the Complaint shows that his name is spelled “Huges” in

26   relevant portions. See e.g.,Compl. ¶ 7 (“The interests of Melvin
27   Huges (“Huges”), Patricia Morris, the Modupe Trust, and the Bandele

28   Trust (“Bandele”) may be adversely affected by these proceedings.”).

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1    Huges offers no authority for dismissing a complaint based on

2    misidentification in documents ancillary to the litigation, nor would

3    any such authority be persuasive; Huges plainly was identified as a

4    party to be noticed and actually had notice of this action. Huges has

5    not been misidentified, and even if he had, he has received

6    sufficient notice to allow him to defend whatever interest he may or

7    may not have had in the defendant property.

8    IV.   CONCLUSION

9          For the foregoing reasons, plaintiff respectfully requests that

10   this Court deny Huges’ Motion for Summary Adjudication, or

11   alternately, enter an order striking the Motion.

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13   Dated: September 14, 2023            Respectfully submitted,

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16                                        Chief, Criminal Division
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18                                        Recovery Section
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